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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )       Case No. 4:17CV02409 RLW
                                                 )
FORTY-FOUR THOUSAND DOLLARS                      )
($44,000.00) U.S. CURRENCY,                      )
                                                 )
         Defendant.                              )
                                                 )

                                FINAL JUDGMENT AND ORDER

       WHEREAS, all potential claimants have been given notice of this proceeding in

accordance with the requirements of Supplemental Rule G of the Federal Rules of Civil

Procedure, and the time for filing claims has expired;

       AND WHEREAS a settlement agreement has been reached between the United States

and Claimant Robert Pauli, III, who is the only claimant joined in this proceeding;

       AND WHEREAS, pursuant to that agreement, the parties have agreed to the entry of a

final judgment and order of forfeiture as set forth below;

       IT IS HEREBY ORDERED THAT a portion of the defendant currency in the amount of

Nineteen Thousand Dollars ($19,000.00) shall be forfeited to the United States of America to be

disposed of according to law.

       IT IS FURTHER ORDERED THAT a portion of the defendant currency in the amount of
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Twenty-Five Thousand Dollars ($25,000.00), shall be returned to the claimant, Robert Pauli,

III, by and through his attorney, Gregory Fenlon.

          IT IS FURTHER ORDERED THAT each party shall bear its own costs incurred in this

action.

                                                    IT IS SO ORDERED,       /,,~

                                                    ~L.~
                                                    HONORABLE RONNIE L. WHITE
                                                    UNITED STATES DISTRICT JUDGE


Dated this !±day of September, 2018.
